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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE



 JENNIFER CABANA,                                )
                                                 )
                            Plaintiff,           )
                                                 )
                v.                               )          Case No. 2:21-cv-00088-JDL
                                                 )
 ADVANTAGE HOME CARE, LLC,                       )
                                                 )
                            Defendant.           )



                                 STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1), the parties hereby stipulate, by and through

undersigned counsel, that all claims asserted against Defendant are dismissed with prejudice and

without costs to either party.




Dated: June 20, 2021                         s/ Danielle Quinlan________________
                                             Danielle Quinlan, Me. Bar #: 5480
                                             Attorney for Plaintiff
                                             WHITE & QUINLAN, LLC
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                                             s/ Danelle Milone_________________
                                             Danelle Milone
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                               CERTIFICATE OF SERVICE

       I, Danielle Quinlan, hereby certify that on this 20th day of June, 2021, I filed the
foregoing Stipulation of Dismissal via the Court’s CM/ECF system, which will automatically
send a notice of filing to all counsel of record.



Dated: June 20, 2021                       /s/ Danielle Quinlan_________________
                                           Danielle Quinlan, Me. Bar No.: 5480
                                           Attorney for Plaintiff
                                           WHITE & QUINLAN, LLC
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